               Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 1 of 10 PageID #:206


     '
         .forrrl-<- 27_, Z-o / Z                                              FILEtr)
     -b-^;rtli-s 7*/be 4 <c'8227                                                   JUL 05     2017   q.,fr

      /,o, Aak"/odo                                                          ^.IL|OMAS G. BRUTON
                                                                             cLERK, u.s. DtsTRtci    counr

     ,n<.Jot-vz( I 7l//.o                        a   /-g          6 zL< ?


 f/ralaaflrrl. { u{)/<1,,o,' Cor€ ftffalE4
                      A{4.                       ;Z/-o7u/'ry
                   .A-.n Coor4 efu^/<                                :
               flo<- (oto€                 /.o.          in{-rorz-</                  y'4<
A^^-{
/-arO
                ry   ,rtffiarD /o- tro/+A.u.€.f
               s{-( re./4        atilaLl qo(U)s<z-rz--&
                                    ar   /zO-<
           7 h-uzer-*d.,;J €d-€ z?.re ,nno
d.ss Ca(n L< Sfud)- fqc-.4.       k2
Zt^ ils a, u/b{ / rv<,n.L/c- 9&4)-O,
Dh{.o 7 a)zt-g *n,^ssQa..uo( 4 2;-4
CC; fl.*- /rJ.,<qZ<- DLo?1 a SSq
        a,.d4 S'€ u€z'-w4 o* Alu Zq-> 4
          L)
/.)z,x- a/so €r^*-**rl-4      /.- 4t'-- *
'1- Q.z'z (o^/*A^f/?: L.JS #,.-,>4)
/-
LZ fr,-- AI -.-.) L-
                                              (r)
         Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 2 of 10 PageID #:207

   --A
  ,J-'e44 od)ratDd t 3!<,.u^
                       L)
                             L*./< ln*o
  P. o Q,dAe,<- Oe?)tL.Cc<.zzS,c_ DA-
 Z cJ.z-< 4< @//<-                                        ) E clc.S Co-)*
           a{nruDe/ tr" a* Z-< .,?--L+_ca,=
 ryM/f
 4,*- S)*t-         C<)otk< #-n^ e.-1
 ?rr.^*- /L4 Z dq-3 r'c-(z.qs--/ A*4a
 {Ave S.*</'*-4 f.f z, [q-(ar) , o-/L-cr)
 /rV.a&-<                (oLet..4,//.-L<- q<                              c>-L_

 SrJ    i+--A aNl                 erc,)o-,ra.-(.
     Z ( /<- b-.-^5 z/aJru3                              (
                                                              L-*               €o
-g-A->. ii (y     4<-z(, ).rt                              5{*q          az<:<<rz
,/-a2. 4".i G"4 '4oA e A-<                                                  a.2"-<.)
7 marO /r'16 Sonn<_ cfl -42,€.,,,-? ) ftry
fZ"rv".4i 6 /*rnn--, .44-<- 74-'.-r.4r2*+
dlr*^,'c<- 4*-f S<
    a;tre eoz;%      CJ,rffi.<-,' lcy                                       Q



aril/      //--c>fa-'4J^<-tl             o

    *+ /pss)U-, -.- r<-q.U LDacz/-z
Pr o .-c<-s-        rY ffir^T                                r=Z * ff
                                                                                        )


                                     cz)
      Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 3 of 10 PageID #:208

 So {hd /n./ sA<- (L) *rw4
 c'& DAf rT s^kudc"z-( Q,n-q_
zu4 4-% q/us*,Vnez( 1&zo 4                                       )
34       A.-Qa"-
      ?(c< atrffi)                 g<c,<-q.( 1a",7nS
                             f na Ar.,ru- ct-95 /@r26--a_                            LI




      .-a7
    7/""aL \Fl< //o o.Jy*utrcy_
fzr *f    egg/-S€*-u
             -'(->- t q-4tc-€- (qz)
       l,//a(a__                                           7c4
r^-




                                    G)
       Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 4 of 10 PageID #:209

  L^&: Md/        ffi,, za/  7

   la: k?r/.t^^r4       $ E//,t<
           "Zos tr*s4 Eaaala?4   /4^) Fr'*a
          &, otc.a/o,    Z//Z/rua rk  4ra 6d(
                L)/
                     fi^7/c:z # Z 692 z-z
           ^
  Fn*zn : /).urui
                  /.4O,ue^rw(            {orrtffi o)                     (=ffi-
                  fi o- ,4ax-- zooD
                                 /rtr<tcle-{                             di Z-z-s?
                 /^<r,>4zu( , 7l
      E<- :  ,/^. ,4-rrs.> K*7a-g{
   luo^ L'1q( '{/YDcd<< :
            a2ac3 a 9Sq,*144 Zr a) z^,u,ru;f<^,
        =        6        o€sM/,<- hc7ffi{- *,\/4
a-o/?;;; SB *A/Ls trr,t *-Y 4'^o<)o/^.-
                    -,,,)
 /r-nceu,z-e1                        '('>zd."b{:'4
e     4-*   PrtSe.{k     .r,ru,'tk
;;; c4n1;*7*a iN-i)$.,a-uc-<- &
t" /:-m
    L
          /"*;4  aL
                 aL   co)vsl
                      Co)ys(  /-.-ralaiffi
                              (tt-r.  rq rtff    t
                                              {"q<-
      Z
      C.iJ^*y.    fi 4:"u- L4.'3, C a*A 6*{
fs fr*.    lu,#,fffi         4;=Z/t'O.'/s;
f., i
Z;;
       ",nlr" / 7 c- o{r(
                  : h** znn), q#t-"fi'-'M
                                  ,p D -,^ ,?
                                                                                      -'./


              pF
       Z 'fuD 2)*<"
 r n ?,.. -iZ        7  B    *n      f/^';*.
fi:^F- U-*"         /,o ,//'ty #vr!  G*'f{qhe<
      -7 /oa/<- Q,rru*r46 A    VuA   ,ncff*,oK,
fl.-nyL yrrdl/
      Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 5 of 10 PageID #:210

b*u      2
         a     ,qry 9t zd/7
 fo      dD
         q    vrnsdf" a{ lAlcaqD /*D S.Auo /
              hrd
          tlll tr*g- 60-44 '#^-4
         eh;cq-1-) ;zf,/"trta,,LC &AG K z
Fnc>.zt: {<rruli Zzb< d K c.-S2z_z
         4t/o  a"a( (aue caaz'*-( (-.&4-t
         f" o" l<-,x /-eoo
        /hor,t*ft1         a/c    d Zz-s?
 Rt I fno ,9ada K--?/4-S<
 {.*n         /-3*( ,1,4ao r"rtZ :
     7 z)as aS $actfoQ{ Zy *'t) h'-pt& ) 4n'{
dai Z+/cr; # at) ocd'?s*< /taS/Ol-, i,-'-t
{yc€f r.-.4 38 ffi7Za-c ).r; q Z--*1 4.*y--TG
,1e   /)Lcr',1Q lNo4&c,^r,,.<   a 4*<4p
     { /n r,,*- aL CrYuil /-z-27/o44-A4 f*                                                '
{^ff--4/ i* rtrn 14,5. A/k €*";,< {'r-
4^< 71/)dttnt/ J *+; df 7 l/,DudCs
                                !-s J
                                                                                     a-


('c".< /Jos, / 2                C CZL(.
      4 zb
r<?^*4
  Z /.o/c $.r".ttul A 2z<>u/ ,gya-r/S€o
7i""4i. ?u/1
         Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 6 of 10 PageID #:211

 J\q?-:            .@Y            ,q      2-d/ Z
   T@7
                   k:r:!r k'rffi                              uf ez/cct| o
                   I E*s€   /e*nso.O H--4
                   CA t.*Sr) n4zlV4to/S (, o a [ (
 Fn.rt     I <-rurud-g /*r7'/o< * 46.5 7 2-?
            )
          ,4rLd^/ cr/,4 C a/r- zc{; a.) I   C- nt€an
           /- o-  ,4.;.<_ / )o E
              <.J.,rn4, ;Z/.( ya a /-< d 2- 2< ?
  /Le: 2 a B oDd ,4*?a*,*
  A.ar,A /-54        741 ua c4& ;
    Z a)ats a99qLr(4-1 L7 arO sl',),',2+{<-ra,rt-/ a)a3
        Za   q,,) at#s/4<-      [oyt'   *z(,q^s/  rec<duk<
&/<z)                               o/uo'   A   *''ZL *<---
S g .9d/r/e-s   /^)  /,Lf  /n*-^-4'
p nlSen) 3 ury' S-r/lL a'ansalt4-<:1 qrr 4
% fjL.no,_Z.q- i,o dl#er,^vr/c<- €a-zn7 %--
     {                   a( Ctn( O,-tP./o)^€ #-'4                                   /€
     n*,,;i)
                hzco<-
                 Z*-            /4
             ;; $rcA ,* gzaaT*aA5
                        a- s,'4     (b^nt=  y'-r                -

.)cz
7r- ru"{,,$,2"-ro
               /7    L oly'<[.
                                           ;
 /-S< /Uo"
                       .- aD
                  /"^tq-  a/') &,ryt      q-o{^
     Z4a ,rt  uZ
                       k O#/.*- ,4?r=*c4
fr-?^.-4     rz.xrZX
/14-<- r*   Loru> )N /t\y 4)il( 4*f lq,rffi

   Z /,s/<- a
fl.,r*Z- *zJ                                                        SoLzqq
         Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 7 of 10 PageID #:212


    .Dr*-   : $dy 8t                    zo11
     T0     :           /r7ot/{/sry
                 A.- /ou(            {u//-S- "f/ao)
                  Ls 5-{ S:*"ks*'g ,4/t-("
               ah f c..ga, */1 l,tazS b oA o(
    f=rd/?/L; 4np,^)n-9 /-rr7/oe # K;tZZz
              ftun,^rv( Z*'rn t.?r".r'*/( e<^ffi/.
                 ,P,   o,  ,Ka"<- / oo o
                 /tz1,aa2 **4 t     4 /,4) a/3             6 ZZ-S ?
                                    =
       &.1 f nu / -do                           ,4't ? t4'<s(2

      Je^,r Lfio( ,HY'c*Ze:                   Des
               cagSqczft<,Ly a) /'O'-to&'- r*ct'4
       7 r);csa"o ou€s'ro/;  Z"s7'w(' t^i4
    Z*L.r)Zo                /*9  A  €:ffiu1=
39 S&7/as iD '4'4/   ho*u(

n(e /s A €.*4- i p, f'$t"'o
'                           c<- 4 ry -{'@"
        t       h*u<--                 (,,9^d':/*;%!;
                            a- (-ot u )/4;S'"!lut
    "//;*-711r{"4.r;,a;
    c^no-^47-iro                            ;     a^f
                     4 7k€ ,f ;=/(/ila /*< }
    Los- /do' (2 C oqq('
          {   z(o /)*  haoq-   o't) e&t,*a,    aa)cy'
     Ae-que4
     '/            rZ-{ 74'fl-s Df4/-- reTt-*^:c-€
                                        (
    /t/1<- f no bar,:> /il ,tu(Y -Cot,ze 6nf7o/E-
        7 /ou/{ {aff-u^d a >/dd6 r'sf'/us<-d
fl^),Jt'-        vo/                       K*,r:%A*,ffi/)                               -,/
             Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 8 of 10 PageID #:213

                       ,{@y ffr              zo/*7
^*{L;
 T0"                   {o/",o ,11 ^,nsAr/( La-) Sc Lro (
                       3 t s S. flyrrou/h (o^o?
                       C A tocor.qo     , 7(       r',o   a   rL<     /, O AO f
prornt '-
                       {*,t,o*as ,ruY6< F /<                          6 gZL?
                       m -e il e,rzf /b:/-/^. c& d4) I                   Z;;,-4 -
                       f*O" 8oX* looD
                       y'1-<ns*4)Ttltrn2r /-9                           b Zzs ?
      t4--i            P.o Bo,rtc K*?^u-*?
  4. ,,, L<3e( /+-tuocr&€-':
                         Lf ^) t"J'ut4t- )
                      -;S/o&s,*-
      Z h)at-e aSsa*H-1
ed-{  -UQa*{ 7^;;, 4              /:^tr'G1,
J^- {* ft..n- ,/"/ sail k c-.tDs*E (",,.rt-114'o;,
q,rsz( o(e (A L..^-?<-- l,Do/,5t4.""€.,uc-y-- t, /u-f
E./1fu.
         Z h^(t<- c<* Cc'fi ( [-:rnP /q*^ff                            4"-€
             /4




  l-S   {*/r'<,rt/y D fl-;                                UiS, e /s-€al{d.,*
{";r- /uo ilo@-rvi /,4                                    of ;=r'/*o < ;
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Case: 1:17-cv-00441 Document #: 26 Filed: 07/05/17 Page 10 of 10 PageID #:215




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